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                  United States Court of Appeals
                               For the First Circuit


      No. 25-1244

       STATE OF CALIFORNIA; COMMONWEALTH OF MASSACHUSETTS; STATE OF NEW
       JERSEY; STATE OF COLORADO; STATE OF ILLINOIS; STATE OF MARYLAND;
                    STATE OF NEW YORK; STATE OF WISCONSIN,

                               Plaintiffs, Appellees,

                                           v.

        U.S. DEPARTMENT OF EDUCATION; LINDA MCMAHON, in her official
          capacity as Secretary of Education; DENISE CARTER, in her
       official capacity as Acting Chief Operating Officer for Student
                                     Aid,

                              Defendants, Appellants.


                   APPEAL FROM THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

                    [Hon. Myong J. Joun, U.S. District Judge]


                                        Before

                          Gelpí, Kayatta, and Montecalvo,
                                  Circuit Judges.


           Yaakov M. Roth, Acting Assistant Attorney General, Leah B.
      Foley, U.S. Attorney, Eric D. McArthur, Deputy Assistant Attorney
      General, Mark R. Freeman, Daniel Tenny, Sean R. Janda, and Brian
      J. Springer, Attorneys, Appellate Staff, U.S. Department of
      Justice, on brief for appellants.
           Rob Bonta, Attorney General of California, Michael J. Mongan,
      Solicitor General, Helen H. Hong, Principal Deputy Solicitor
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      Joya, Garrett Lindsey, Deputy Attorneys General, Andrea Joy
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      Yael Shavit, Chief of Consumer Protection Division, David Kravitz,
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      Solicitor General, Anthony G. Brown, Attorney General of Maryland,
      Virginia A. Williamson, Assistant Attorney General, Joshua L.
      Kaul, Attorney General of Wisconsin, Aaron J. Bibb, Assistant
      Attorney General, on brief for appellees.


                                   March 21, 2025
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                  KAYATTA, Circuit Judge.         Concerned that there are too

      few qualified teachers and principals in various communities,

      Congress directed the Secretary of Education (the "Secretary") to

      use certain funds to make grants to entities providing, among other

      things, for the recruitment and training of teachers and school

      leaders for traditionally underserved local educational agencies.

      20 U.S.C. §§ 1022, 1022a, 6671(1), 6672(a).               After conducting a

      competitive     application   process,      the    Secretary      awarded,    as

      relevant here, 109 grants for Teacher Quality Partnership (TQP)

      and Supporting Effective Educator Development (SEED) programs,

      which in large part were up and running until the agency action

      that gave rise to this litigation.

                  On February 7, 2025, or shortly thereafter, 104 of those

      109 programs received boilerplate letters from the U.S. Department

      of    Education     (collectively      with       other    appellants,       the

      "Department") purporting to terminate their grants midstream.                The

      letters stated in pertinent part:

                  The grant specified above provides funding for
                  programs that promote or take part in
                  [diversity, equity, and inclusion (DEI)]
                  initiatives    or   other    initiatives   that
                  unlawfully discriminate on the basis of race,
                  color, religion, sex, national origin, or
                  another    protected    characteristic;    that
                  violate either the letter or purpose of
                  Federal civil rights law; that conflict with
                  the Department's policy of prioritizing merit,
                  fairness, and excellence in education; that
                  are   not   free   from    fraud,   abuse,   or
                  duplication; or that otherwise fail to serve


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                   the best interests of the United States. The
                   grant is therefore inconsistent with, and no
                   longer effectuates, Department priorities.

                   As the careful reader will note, the letters do not

      specify why any given program is no longer "[]consistent with" and

      no longer "effectuates[] Department priorities."                       Rather, the

      letters list in the disjunctive five possible reasons.

                   Presented    with     a    complaint       by    eight    states    (the

      "States") within which operate numerous affected grant recipients,

      the district court issued a temporary restraining order (TRO)

      requiring the Department to, among other things, restore the status

      quo   as   it   stood    prior   to     the      purported    terminations.       The

      Department has since appealed the TRO.                  It also now asks us to

      stay the district court's order pending the resolution of this

      appeal.     This opinion concerns only that motion for a stay pending

      appeal.     We deny that motion for the following reasons.

                                                I.

                   As a preliminary matter, the States claim that we lack

      appellate jurisdiction to review a TRO.                      See 28 U.S.C. § 1291

      (confining federal appellate jurisdiction largely to the review of

      lower courts' final decisions); Calvary Chapel of Bangor v. Mills,

      984 F.3d 21, 27 (1st Cir. 2020) (stating that appellants carry the

      burden of demonstrating TRO reviewability).                    "[T]he denial of a

      [TRO] does not normally fall within the compass of [§] 1292(a)(1)"

      and so generally is not immediately reviewable.                    Calvary Chapel,


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      984 F.3d at 27.    Nevertheless, in this instance the district court

      orally heard the Department on at least some of the central issues

      prior to issuing the TRO.         See Sampson v. Murray, 415 U.S. 61, 87–

      88 (1974) (treating a purported TRO as a preliminary injunction

      for reviewability purposes in part because "an adversary hearing

      ha[d] been held").      In any event, our precedent allows us to assume

      statutory jurisdiction when the party asserting it will not obtain

      its requested relief even were there jurisdiction.                     See United

      States v. Pedró-Vidal, 991 F.3d 1, 4 (1st Cir. 2021).             We therefore

      opt to sidestep the arguable statutory jurisdictional defect at

      least for the purposes of addressing the motion to stay pending

      appeal.

                                            II.

                  In assessing the merits of the motion to stay pending

      appeal, we consider four factors: "(1) whether the stay applicant

      has made a strong showing that [it] is likely to succeed on the

      merits; (2) whether the applicant will be irreparably injured

      absent a stay; (3) whether issuance of the stay will substantially

      injure    the   other   parties    interested    in   the    proceeding;       and

      (4) where the public interest lies."             Nken v. Holder, 556 U.S.

      418, 426 (2009) (citation omitted).           "The first two factors . . .

      are the most critical."      Id. at 434.




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                                            A.

                   As to the first factor, our discussion at this point

      assesses only the likelihood of success on the merits as the record

      now stands and does not constitute a holding on the merits.

                   We begin with two challenges by the Department to the

      district court's ability to review the termination of the grants.

                                            1.

                   First, the Department claims that the district court

      itself lacked jurisdiction to entertain this lawsuit, which the

      Department argues belongs in the Court of Federal Claims.                 See 28

      U.S.C. § 1491(a)(1) (granting jurisdiction to the Court of Federal

      Claims for any action against the government "upon any express or

      implied contract with the United States").             The Department points

      to the fact that each grant award takes the form of a contract

      between the recipient and the government.            "But the mere fact that

      a court may have to rule on a contract issue does not, by triggering

      some      mystical     metamorphosis,        automatically      transform      an

      action . . . into one on the contract and deprive the court of

      jurisdiction it might otherwise have."            Megapulse, Inc. v. Lewis,

      672 F.2d 959, 968 (D.C. Cir. 1982).            Here, although the terms and

      conditions of each individual grant award are at issue, the

      "essence," id., of the claims is not contractual.                   Rather, the

      States     challenge    the   Department's     actions     as   insufficiently

      explained,    insufficiently      reasoned, and otherwise contrary to


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      law -- arguments derived from the Administrative Procedure Act

      (APA), 5 U.S.C. § 706(2)(A).             The States' claims are, at their

      core, assertions that the Department acted in violation of federal

      law -- not its contracts.           Simply put, if the Department breached

      any contract, it           did so by violating the APA.                 And if the

      Department did not violate the APA, then it breached no contract.

      In the words of the Tenth Circuit, "when a party asserts that the

      government's        breach     of   contract      is      contrary     to    federal

      regulations, statutes, or the Constitution, and when the party

      seeks     relief    other    than   money   damages,      the   APA's     waiver   of

      sovereign immunity applies and the Tucker Act does not preclude a

      federal district court from taking jurisdiction."                Normandy Apts.,

      Ltd. v. HUD, 554 F.3d 1290, 1300 (10th Cir. 2009); see also

      Megapulse, 672 F.2d at 968, 970 (upholding a district court's

      jurisdiction where "[a]ppellant's position is ultimately based,

      not   on    breach    of    contract,    but    on   an    alleged   governmental

      infringement of property rights and violation of the Trade Secrets

      Act").

                    Nor do the States seek damages owed on a contract or

      compensation for past wrongs.            See Megapulse, 672 F.2d at 968–70

      (considering, in a Tucker Act analysis, "the type of relief sought

      (or appropriate)").            Rather, they want the Department to once

      again      make    available    already-appropriated         federal      funds    for

      existing grant recipients.              And as the Supreme Court has made


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      clear, "[t]he fact that a judicial remedy may require one party to

      pay money to another is not a sufficient reason to characterize

      the relief as 'money damages.'"                Bowen v. Massachusetts, 487 U.S.

      879, 893 (1988).           As a result, we see no jurisdictional bar to the

      district court's TRO on this basis.                         See id. at 900–01 (holding

      that      a    district    court     could   hear       a    claim    for    an   injunction

      requiring the government to pay certain Medicaid reimbursements

      because it was "a suit seeking to enforce the statutory mandate

      itself, which happens to be one for the payment of money," and

      "not a suit seeking money in compensation for the damage sustained

      by the failure of the Federal Government to pay"); Megapulse, 672

      F.2d at 970–71 (explaining, in a Tucker Act case, that "the mere

      fact      that    an    injunction     would       require      the   same    governmental

      restraint        that     specific    (non)performance           might       require     in   a

      contract setting is an insufficient basis to deny a district court

      the jurisdiction otherwise available").

                                                    2.

                       The Department also contends that these terminations are

      part      of     the    "narrow[]"     class       of       agency    actions     that    are

      unreviewable in federal court.                 Dep't of Comm. v. New York, 588

      U.S. 752, 772 (2019) (citation omitted); see 5 U.S.C. § 701(a)(2)

      (exempting from judicial review agency action "committed to agency

      discretion by law"); see, e.g., Lincoln v. Vigil, 508 U.S. 182,

      185, 190–94 (1993) (labeling "unreviewable" the Indian Service's


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      decision to stop funding a program for handicapped children where

      Congress      left    the   decision    about    how    to     "expend . . .

      money[] . . . for the benefit, care, and assistance of the Indians"

      up to the agency's discretion).

                    But here, applicable regulations cabin the Department's

      discretion as to when it can terminate existing grants.                 See 2

      C.F.R. § 200.340(a) (2025) (enumerating four ways federal awards

      may be terminated); id. § 3474.1 (adopting § 200.340 for the

      Department of Education); see Pol'y & Rsch., LLC v. HHS, 313 F.

      Supp. 3d 62, 75–78 (D.D.C. 2018) (opinion of K.B. Jackson, J.)

      (holding that        the agency's sudden and otherwise-presumptively

      unreviewable decision to halt funding to an agency program was

      reviewable under the APA because applicable regulations cabined

      its termination authority and therefore provided a standard by

      which the court could review the agency's decision).                 Nor are

      these regulations the only limits placed on the Department.                The

      statutes establishing the TQP and SEED programs set forth the

      purposes of the grants, including, for example, the "recruit[ment]

      of   highly    qualified . . .    minorities . . .     into    the   teaching

      force," 20 U.S.C. § 1022(4), and the provision of "pathways [for

      teachers] to serve in traditionally underserved local educational

      agencies," id. § 6672(a)(1).           So too has Congress instructed

      recipients to "provide assurances to the Secretary," including,

      for example, that participants "receive training in providing


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       instruction to diverse populations."               Id. § 1022e(b).          Certainly,

       given these statutory mandates, the Department could not terminate

       a grant merely because a recipient program attempts to prepare

       participating school leaders to serve in traditionally underserved

       communities; nor could it treat assurances that a program provides

       training in the instruction of "diverse populations" as a reason

       to terminate an award.            These regulatory and statutory limits on

       the Department's discretion thus create "meaningful standard[s] by

       which to judge the [agency]'s action."                Dep't of Comm., 588 U.S.

       at 772.

                                                  B.

                   We now turn to the core of the merits: a review of some

       of the Department's actions under the basics of administrative law

       as developed under the APA.           Like the district court, we focus our

       analysis on the States' arbitrary-and-capricious claim.                           "The

       APA's    arbitrary-and-capricious           standard       requires    that     agency

       action be reasonable and reasonably explained."                 FCC v. Prometheus

       Radio Project, 592 U.S. 414, 423 (2021).                    This means that the

       agency's reasons "must be set forth with such clarity as to be

       understandable."       SEC v. Chenery Corp. (Chenery II), 332 U.S. 194,

       196 (1947).       And although judicial review of agency action is

       "narrow"    in    scope,     we    must    still    determine     if    the    agency

       "examine[d] the relevant data and articulate[d] a satisfactory

       explanation      for   its   action       including    a    'rational       connection


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       between the facts found and the choice made.'"                    Motor Vehicle

       Mfrs. Ass'n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463

       U.S. 29, 43 (1983) (quotation marks and citation omitted).

                   The    Department       challenges       the     district     court's

       conclusion     that    its    termination         letters     lacked      reasoned

       explanation.      But, as we have already described, the termination

       letters list up to five disjunctive reasons why the supposedly

       offending programs are now "inconsistent with . . . Department

       priorities."      This leaves grant recipients, not to mention a

       reviewing court, to "guess at the theory underlying the agency's

       action."    Chenery II, 332 U.S. at 196–97.

                   This lack of proper explanation from the Department

       likely "will not do," because "a court [cannot] be expected to

       chisel that which must be precise from what the agency has left

       vague and indecisive."            Id.     Adding to the uncertainty, the

       Department has yet to file what it claims to be an administrative

       record, even while seeking our expedited attention and equitable

       relief.     See Fed. R. App. P. 17.         And without a statement of the

       reason or reasons for the terminations, a court cannot say whether

       the Department properly considered all "relevant data."                      State

       Farm, 463 U.S. at 43.        For example, it does not appear that the

       Department properly considered the reliance interests of grant

       recipients and program participants or that it accounted for all

       relevant impacts of cutting off funding to programs already in


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       place.     See DHS v. Regents of the Univ. of Cal., 591 U.S. 1, 30–

       31 (2020) (holding the Department of Homeland Security's attempted

       recission of the Deferred Action for Childhood Arrivals (DACA)

       program arbitrary and capricious in part based on its failure to

       consider recipients' reliance interests); State Farm, 463 U.S. at

       43 (holding that an agency cannot "entirely fail[] to consider an

       important aspect of the problem" before it).

                    Nor can we say that "the agency has [not] relied on

       factors which Congress [did] not intend[] it to consider" in

       disfavoring programs that feature DEI principles.                      State Farm, 463

       U.S. at 43; see, e.g., 20 U.S.C. § 1022(4) (stating a statutory

       purpose of "recruit[ing] highly qualified individuals, including

       minorities        and    individuals    from      other   occupations,       into    the

       teaching force"); id. § 1022e(b) (requiring grant recipients to

       provide assurances that, among other things, "general education

       teachers receive training in providing instruction to diverse

       populations").

                    In its briefs to us and in an affidavit from its Chief

       of       Staff,     the      Department        seeks      to      provide      further

       specificity -- stating that its actual reason for terminating the

       grants     was    each    program's    use     of   those      funds    to   teach   DEI

       principles.        But that supposed specificity is nowhere to be found

       in the termination letters, which state in the disjunctive five

       possible grounds for termination.               Indeed, this newfound claim of


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       clarity approaches the sort of "post hoc rationalization" that we

       cannot allow.      See Citizens to Pres. Overton Park, Inc. v. Volpe,

       401 U.S. 402, 419–20 (1971) (holding that judicial review is

       inappropriate when it would rely on explanations found in the

       agency's litigation affidavits).

                  Finally, we are at this point not persuaded by the

       Department's contention that the district court was "incorrect" in

       rejecting the Department's attempts to invoke new priorities as

       grounds for the terminations.           See FCC v. Fox Television Stations,

       Inc., 556 U.S. 502, 515 (2009).            For one, this argument fails to

       address Fox Television's directive that an agency must show "good

       reasons for the new policy" and account for "serious reliance

       interests"      engendered   by   the    old   one.    Id.      Moreover,    this

       argument entirely fails to rebut the States' credible assertions

       below    that    the   Department's       priorities     must,     per   federal

       regulation, be established through formal rulemaking, which the

       Department did not do.       See 34 C.F.R. § 75.105(b) (2024).

                  The States claim other failings in the Department's

       termination of the ongoing grants.             For example, they argue that

       applicable regulations preclude the Department from terminating

       grants solely for failure to effectuate agency priorities, and

       therefore that the terminations were "not in accordance with law."

       5 U.S.C. § 706(2)(A).        But given the apparent defects to which we

       point above, the outcome of this motion does not turn on the merits


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       of those additional arguments.           Moreover, we choose to say less

       rather than more precisely because the record and the parties'

       arguments    are   still    developing     in    the   district     court.       The

       Department's insistence that we decide its motion with haste

       cautions against venturing further than is reasonably necessary to

       balance the parties' equitable positions while not yet being in a

       position to adjudicate finally the underlying dispute.

                                             C.

                   Advancing      speculation     and   hyperbole,      the      Department

       asserts that it faces irreparable harm because the TRO allows grant

       recipients to request up to the entirety of their award monies

       and, indeed, creates the incentive for them to do so within the

       fourteen days the order is in effect -- with limited ability for

       the Department to recoup the funds should it prevail on the merits.

       The States convincingly explain that this is simply not the case,

       in   part   because   recipients    submit       reimbursement     requests      for

       expenses already incurred.         And, in fact, the Department has not

       pointed to any evidence of any attempt at any such a withdrawal by

       any recipient.     Nor does the Department rebut the contention that

       it could stop such an attempted withdrawal.

                   Of course, the district court's order does require the

       Department to continue making payments that would otherwise be due

       but for the terminations.        As a result, some smaller, incremental

       disbursements will no doubt occur while the TRO is in effect.


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       Hence, the Department may incur some irreparable harm if it cannot

       recoup this money.              But the Department has not yet shown that

       recoupment          is   implausible.              See    Nken,     556    U.S.     at     434–35

       ("[S]imply showing some possibility of irreparable injury fails to

       satisfy the second factor." (cleaned up)); Common Cause R.I. v.

       Gorbea, 970 F.3d 11, 15 (1st Cir. 2020) (per curiam) (noting that

       claims of irreparable harm must not only be "correct as a matter

       of theory" but also "as a matter of fact and reality").                                   And, at

       bottom,       the    funds   will      go     to    programs        Congress       intended    to

       fund     --   in     amounts      that   in     total       do     not    exceed    Congress's

       direction -- consistent with priorities previously published by

       the Department in accordance with applicable regulations.                                    See,

       e.g., Final Priorities -- Effective Educator Development Division,

       86 Fed. Reg. 36217 (July 9, 2021).

                      In short, any irreparable harm arguably caused by the

       TRO is not of a type and magnitude that grabs equities' emergency

       attention when compared to the harm that the recipients could well

       suffer if the TRO is stayed.                The States provided detailed evidence

       below of the practical impacts of cutting off grants -- some which

       have already begun to occur and which cannot be fully remedied

       with     late-arriving         funds     --   including          staff     layoffs,       program

       disruptions, and the halting of stipends to currently enrolled

       teachers.          The States also described below how these immediate

       effects       will       weaken    the      very         teacher     pipelines       in     their


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       jurisdictions that Congress intended to strengthen through the TQP

       and SEED programs.         The Department provides no compelling rebuttal

       and therefore does not convince us that the second or third Nken

       factors tip in favor of a stay.           See 556 U.S. at 426.

                   Additionally,        given        our     conclusions        about    the

       Department's failure to show a likelihood of success on the merits,

       its assertion that the public interest aligns with its interests

       in a stay are unavailing.            See League of Women Voters of U.S. v.

       Newby, 838 F.3d 1, 12 (D.C. Cir. 2016) ("[T]here is a substantial

       public interest in having governmental agencies abide by the

       federal     laws    that    govern     their    existence        and   operations."

       (quotation marks and citation omitted)).

                                                D.

                   Lastly, the Department claims that the TRO is overbroad

       for two reasons.       First, the Department calls attention to the

       fact that the TRO applies to several grant recipients "that are

       located within the [] States but that are only 'affiliated with'

       the State or that are local school districts rather than clearly

       State instrumentalities."         The district court did not, according

       to the Department, "meaningfully explain its understanding that

       each recipient is in fact an instrumentality of a plaintiff."                     But

       the parties have not yet briefed the relationship between the

       States,     their     school      districts,         and     nonprofit       entities

       "affiliated" with the States.            Given that a hearing on a motion


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       for an actual preliminary injunction is scheduled to be held

       shortly, we think it premature to address the adequacy of the

       district court's explanation on this point now.

                  Second, the Department contends that the TRO does not

       allow the Department to reinstate the terminations if and when the

       Department corrects the deficiencies upon which the district court

       justified the TRO.      But the Department does not claim that it

       plans to take any such corrective action before the hearing on the

       States' motion for a preliminary injunction, at which point the

       district court will consider validly raised arguments by all

       parties that it has not yet addressed.          We therefore see no need

       to address this issue now.

                                           III.

                  For the foregoing reasons, the motion for a stay pending

       appeal   is   denied.     An     expedited   briefing     schedule    on   the

       Department's appeal will be set by the clerk forthwith.




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